                         UNITED STATES
         Case 3:22-cr-00773-DB         DISTRICT
                                Document        COURT
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                          WESTERN DISTRICT OF TEXAS
                               EL PASO DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
        Plaintiff,                              )
                                                )
v.                                              ) CRIMINAL NO. EP-22-CR-00773-DB
                                                )
ADRIAN GIL II,                                  )
                                                )
        Defendant.                              )

                ADVISORY TO THE COURT REGARDING FORFEITURE

        NOW COMES the United States of America, Plaintiff, by and through the United States

Attorney for the Western District of Texas, and files this Advisory to the Court Regarding

Forfeiture in this case. The United States respectfully advises the Court as follows:

                                                     I.

        On June 1, 2022, An Indictment (Doc. 4) was filed against Defendant ADRIAN GIL II in

the instant criminal case. The Indictment included a Notice of United States of America’s Demand

for Forfeiture which sought the forfeiture of specific subject properties, namely:

     1. FNH USA, LLC, model FNX-45 Tactical, .45 caliber pistol, bearing serial number
         FX3U082701;
     2. Romarm/Cugir, model Mini Draco, .762 caliber pistol, bearing serial number
         PE00362017RO;
     3. Keltec, model CNC Industries, Inc. SUB-2000, .40 caliber rifle, bearing serial number
         FXA80;
     4. Taurus, model 85 Protector Poly, .357 caliber revolver, bearing serial number EZ64670;
     5. Glock GMBH Unknown Machine Gun, caliber unknown, bearing serial number
         KZB971;
     6. FNH USA, LL, model 509; 9mm caliber pistol, bearing serial number GKS0063466;
     7. 15 rounds of .45 caliber ammunition;
     8. 30 rounds of .762 caliber ammunition;
     9. 14 rounds of .40 caliber ammunition;
     10. 25 rounds of 9mm caliber ammunition;
     11. 4 rounds of .357 caliber ammunition; and
     12. Any and all firearms, ammunition, and/or accessories involved in or used in the
         commission of the criminal offense.


hereinafter referred to as the Subject Properties.
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                                             II.

        The United States advises this Court that the Subject Properties have been administratively

forfeited by the Bureau of Alcohol, Tobacco, Firearms and Explosives. The United States hereby

advises the Court that it will not seek judicial forfeiture of any properties in the instant criminal

case.



                                                      Respectfully submitted,


                                                      ASHLEY C. HOFF
                                                      United States Attorney

                                              By:     /s/
                                                      Patricia J. Acosta
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                            CERTIFICATE OF SERVICE


        I hereby certify that on November 9, 2022, the foregoing instrument was electronically
filed with the Clerk of the Court using the CM/ECF System which will transmit notification of
such filing to the following CM/ECF participants:



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                                                  /s/
                                                  Patricia J. Acosta
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